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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

 UNITED STATES OF AMERICA,             §
                                       §
                     Plaintiff,        §
                                       §
 v.                                    §        CASE NO. 7:19-CV-332
                                       §
 4.674 ACRES OF LAND, MORE OR LESS, §
 SITUATE IN HIDALGO COUNTY,            §
 STATE OF TEXAS; AND JULIO ADRIAN §
 SALGADO,                              §
                                       §
                    Defendants.        §
______________________________________________________________________________

                       COMPLAINT IN CONDEMNATION
______________________________________________________________________________

        1.      This is a civil action brought by the United States of America at the request of the

Secretary of the Department of Homeland Security, through the Acquisition Program Manager,

Wall Program Management Office, U.S. Border Patrol Management Office Directorate, U.S.

Border Patrol, U.S. Customs and Border Protection, Department of Homeland Security, for the

taking of property under the power of eminent domain through a Declaration of Taking, and for

the determination and award of just compensation to the owners and parties in interest.

        2.      The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1358.

        3.      The interest in property taken herein is under and in accordance with the authority

set forth in Schedule “A.”

        4.      The public purpose for which said interest in property is taken is set forth in

Schedule “B.”




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                                             Complaint
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       5.      The legal description and map or plat of land in which certain interests are being

acquired by the filing of this Complaint, pursuant to the Declaration of Taking, are set forth in

Schedules “C” and “D.”

       6.      The interest being acquired in the property described in Schedules “C” and “D” is

set forth in Schedule “E.”

       7.      The amount of just compensation estimated for the property interest being acquired

is set forth in Schedule “F.”

       8.      The names and addresses of known parties having or claiming an interest in said

acquired property are set forth in Schedule “G.”

       9.      Local and state taxing authorities may have or claim an interest in the property by

reason of taxes and assessments due and eligible.

       WHEREFORE, Plaintiff requests judgment that the interest described in Schedule “E” of

the property described in Schedules “C” and “D” be condemned, and that just compensation for

the taking of said interest be ascertained and awarded, and for such other relief as may be lawful

and proper.

                                                      Respectfully submitted,

                                                      RYAN K. PATRICK
                                                      United States Attorney
                                                      Southern District of Texas

                                              By:     s/ Jessica A. Nathan________________
                                                      JESSICA A. NATHAN
                                                      Assistant United States Attorney
                                                      Southern District of Texas No.3313572
                                                      Texas Bar No. 24090291
                                                      1701 W. Bus. Highway 83, Suite 600
                                                      McAllen, TX 78501
                                                      Telephone: (956) 618-8010
                                                      Facsimile: (956) 618-8016
                                                      E-mail: Jessica.Nathan@usdoj.gov


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                                             Complaint
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  SCHEDULE
     A
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                                         SCHEDULE, A

                               AUTHORITY FOR THE TAKING

         The property is taken under and in accordance with 40 U.S.C. $$ 3l 13 and 3l14,

which authorize the condemnation of land and the filing of a Declaration of Taking; the

Act of   Congress approved September         30, 1996, as Public Law 104-208, Division C,

Section 102, I l0 Stat. 3009-546, 3009-554-55, as amended and codified at 8 U.S.C.              g


ll03(b)&note;andtheActofCongressapprovedFebruaryl5,20l9,asPublicLawll6-

6, div. A,   tit. II, Section 230, which appropriated the funds that shall be used forthe taking.
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  SCHEDULE
      B
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                                      SCHEDULE B

                                    PUBLIC PURPOSE

       The public purpose for which said property is taken is to conduct surveying, testing,

and other investigatory work needed to plan the proposed construction of roads, fencing,

vehicle barriers, security Iighting, cameras, sensors, and related structures designed to help

secure the United States,A,Iexico border within the State of Texas,
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  SCHEDULE
     C
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                                    SCHEDULE C

                                LEGAL DESCRIPTION

                                 Hidalgo County, Texas

Tract: RGV-MCS-1203
Owner: Julio Adrian Salgado
Acres:4.674

As identified in the Warranty Deed, Document #:2932314, recorded on July 13, 2018 in
the Deed Records of Hidalgo County:

Lot Fifty-Six (56), Containing 5.18 Acres, More or Less, VILLAGE OF LOS EBANOS,
Hidalgo County, Texas, according to partition of Porciones 38, 39, and 40 in Cause No:
2444 in the District Court of Hidalgo County, Texas and recorded in Instrument Record
No:. 29972 filed in the Office of the County Clerk of Hidalgo County, Texas. lnformation
taken from "Warranty Deed", document No: 2594332, filed for the record on 03-16-2015.

Excludes the 0.50 acres, more or less, previously taken in case Civil No. 7:08-cv-212,
United States of America v. 0.50 ACRES OF LAND, More Or Less, Situate in
HIDALGO COUNTY, STATE OF TEXAS; and OCTAVIO FLORES, et al.; identified as
RGV.MCS.IOI5.
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  SCHEDULE
      D
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                                                                 SCHf,,DULE D

                                                                 MAP or PLAT

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                                                         LAND TO BE CONDEMNED

                  Tract: RGV-MCS-1203
                  Owner: Julio Adrian Salgado
                  Acreage:4.674

                  * The case caption identifies acreage for the entire parent tract, less the.050 acres
                  previously taken in case Civil No. 7:08-cv-212, United States of America v. 0.50 ACRES
                  OF LAND, More Or Less, Situate in HIDALGO COLJNTY, STATE OF TEXAS; and
                  OCTAVIO FLORES, et al.; identified as RGV-MCS-I015.; access to the entire parent tract
                  may be necessary to complete a survey of the proposed tract outlined in red on the map
                  above.
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   SCHEDULE
       E
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                                       SCHEDULE E

                                      ESTATE TAKEN

                                   Hidalgo County, Texas

Tract: RGV-MCS-1203
Owner: Julio Adrian Salgado
Acres:4.674


        The estate taken is a temporary, assignable easement beginning on the date
possession is granted to the United States and ending 12 months later, consisting        ofthe
right ofthe United States, its agents, contractors, and assigns to enter in, on, over and across

the land described in Schedule C to survey, make borings, and conduct other investigatory

work for the purposes described in Schedule B and to access adjacent lands; including the

right to trim or remove any vegetative or structural obstacles that interfere with said work;

reserving to the landowners, their successors and assigns all right, title, and privileges as

may be used and enjoyed without interfering with or abridging the rights hereby acquired;

subject to minerals and rights appurtenant thereto, and to existing easements for public

roads and highways, public utilities, railroads and pipelines.
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    SCHEDULE
        F
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                                      SCHEDULE F

                       ESTIMATE OF ruST COMPENSATION

   The sum estimated   as   just compensation for the land being taken is ONE HUNDRED

DOLLARS AND NO/I00 ($100.00), to be deposited her€with in the Registry of the Court

for the use and benefit ofthe persons entitled thereto; and, an additional sum determined

at the conclusion of the temporary estate described in Schedule E to constitute actual

damages,   ifany.
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     SCHEDULE
        G
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                                     SCHEDULE G

                                INTERESTED PARTIES

The following table identifies all persons who have or claim an interest in the property
condemned and whose names are now known, indicating the nature of each person's
property interes(s) as indicated by references in the public records and any other
information available to the United States.   ,See Fed.   R. Civ. P. 7l   .   I   (c).

 Interested Partv                                         Reference
 Julio Adrian Salgado                                     Warranty Deed,
 Register No. 74611-179                                   Document # 2932314,
 FCI Three Rivers                                         Recorded July 13,2018,
 Federal Correctional Institution Satellite Camp          Deed Records of Hidalgo County
 P.O. Box 4200
 Three Rivers, TX 78071
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JS 44 (Rev. 06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
                                                                                                            4.674 Acres of Land, More or Less, Situate in Hidalgo County, State
United States of America                                                                                    of Texas; and Julio Adrian Salgado

    (b) County of Residence of First Listed Plaintiff                                                         County of Residence of First Listed Defendant              Hidalgo
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
Jessica A. Nathan, United States Attorney's Office, SDTX, 1701 West
Bus. Hwy 83, Ste 600, McAllen, Texas 78501


II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1       ’ 1       Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                         of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                  ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                ’ 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                 ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                     ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 835 Patent - Abbreviated       ’ 460 Deportation
        Student Loans                ’   340 Marine                         Injury Product                                                     New Drug Application       ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                 Liability                                                    ’ 840 Trademark                        Corrupt Organizations
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud              ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)               ’ 490 Cable/Sat TV
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending                Act                          ’ 862 Black Lung (923)           ’ 850 Securities/Commodities/
’   190 Other Contract                       Product Liability        ’ 380 Other Personal           ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))               Exchange
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage                 Relations                    ’ 864 SSID Title XVI             ’ 890 Other Statutory Actions
’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 740 Railway Labor Act             ’ 865 RSI (405(g))               ’ 891 Agricultural Acts
                                     ’   362 Personal Injury -              Product Liability        ’ 751 Family and Medical                                             ’ 893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                     ’ 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:               ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 896 Arbitration
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                 Income Security Act                  or Defendant)             ’ 899 Administrative Procedure
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party                  Act/Review or Appeal of
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609                     Agency Decision
’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                       ’ 950 Constitutionality of
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          State Statutes
                                             Employment                 Other:                       ’ 462 Naturalization Application
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                  ’ 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           40 U.S.C. 3113 and 3114
VI. CAUSE OF ACTION Brief description of cause:
                                           Land condemnation proceeding for temporary easement (right of entry) to survey and conduct testing
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
09/17/2019                                                              /s/ Jessica A. Nathan
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE

                 Print                               Save As...                                                                                                                  Reset
